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SEALED
United States District Court

SOUTHERN DISTRICT OF INDIANA

 

 

UNITED STATES OF AMERICA

y CRIMINAL COMPLAINT

CASE NUMBER: 4:15-mj-00018

ROBERT D. JENKINS UNDER SEAL

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about February 14, 2015, in Jackson County, in the Southern District of Indiana
defendant did,

Knowingly employ, use, persuade, induce, entice, or coerce any minor to engage in sexually explicit conduct for
the purpose of producing any visual image of such conduct, and that said depiction was created using materials
that had been shipped or transported in interstate commerce

in violation of Title 18, United States Code, Section 2251 I further state that I am a Special Agent, and that this
complaint is based on the following facts:

See attached affidavit

Continued on the attached sheet and made a part hereof.

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Special Agent Todd Prewitt, FBI

 

Sworn to before me, and subscribed in my presence

May 4, 2015
Date

Q

t Indianapolis, Indiana

 

Mark J. Dinsmore, U.S. Magistrate Judge
Name and Title of Judicial Officer Signatur of ee .

 

 
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Affidavit
I, Todd Prewitt, being first duly sworn, depose and state as follows:

1. I, Todd Prewitt, am a Special Agent with the Federal Bureau of Investigation, and
have been for employed since 2001. In that capacity, I have investigated federal criminal
violations related to high technology or cyber-crime, child exploitation, and child pornography. |
have gained experience through training and discussions with other law enforcement officers
who have experience conducting these types of investigations. I have had the opportunity to
observe and review multiple examples of child pornography (as defined in 18 U.S.C. § 2256) in
all forms of media including computer media. Prior to becoming an FBI Agent, I worked as a
Trooper and Detective with the Indiana State Police for approximately five and half years. In
that capacity, I investigated numerous investigations of sexual assault to include: rape, sexual

misconduct, and child molesting.

2. I make this application based upon what I believe to be probable cause for the
issuance of an arrest warrant of Robert D. Jenkins. I make these affirmations and statements
based upon my own personal knowledge an investigations, the investigations of the Seymour,
Indiana Police Department, and other law enforcement personnel. At all times where I reference
information from another source, I am summarizing the information gave to me and not

recounting verbatim.
Requirements of Federal Law

3, Title 18, United States Code, Section 2251 makes it a crime to, inter alia, employ,
use, persuade, induce, entice or coerce a minor to engage in any sexual explicit conduct for the

purpose of producing any visual depiction of such conduct if that visual depiction was produced
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or transmitted using materials that have been mailed, shipped, or transported in or affecting

interstate or foreign commerce by any means including by computer.

4, Title 18, United States Code, Section 2256(2)(A)(v) defines sexually explicit

conduct to lascivious exhibition of the genitals or pubic area of any person.
History of Robert D. Jenkins

5. Robert Jenkins is a fifty year old male who at the time of the offense was residing
at a residence in Seymour, Indiana with his girlfriend S.H. and S.H.'s nine year old daughter,

Victim One.

6. In December 1999, Jenkins was arrested for child molestation in Jackson County
Indiana. According to the probable cause affidavit, Jenkins made a 13 year old girl (1) bend over
and pull down her pants and underwear and touch her vagina with his hands; (2) place a
vibrating thing on her private parts; and (3) pulled down his pants and attempt to make the girl
perform oral sex upon him. Jenkins admitted to all the conduct, except the touching of her

vagina as described in allegation 1 (he did admit to undressing her).

7. The probable cause affidavit also states that the 13 year old girl witnessed Jenkins

have anal intercourse with a then 14 year old boy.

8. Jenkins plead guilty to one count of child molestation in violation of Indiana Code
35-42-4-3 against the 13 year old girl and one count of sexual misconduct with a minor in
violation of Indiana Code 35-42-4-9 against the 14 year old boy. Jenkins was sentenced to five

years of incarceration with two years suspended.

Current Offense
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9. On March 26, 2015, S.H. went to the Seymour, Indiana police department and
reported that, infer alia, Jenkins had taken naked photographs of her nine year old daughter with

one of his cell phones. S.H. turned the cell phone over to the Seymour P.D.

10. Detective C.J. Foster, viewed at least five nude images of female identified as

Victim One on the cell phone.

A. Image One depicts a pre-pubescent female on a red, white, and blue eagle
blanket and towel. The girl is on her knees and her buttocks and her vaginal area are the focal

point of the image.

B. Image Two depicts a pre-pubescent female lying on her back from the
shoulders down. The girl is nude and her breasts and vagina are the focal point of the image.

The same blanket is present.

C. Image Three depicts a close up of the pre-pubescent's girls vagina. A

portion of what I believe to be the same blanket and towel are present.

D. Image Four depicts a pre-pubescent female lying on her back from the
mid-chest down. The girl is nude and her vagina is the focal point of the image. The same

blanket is present.

E. Image Five depicts a pre-pubescent female lying on her back from the chin
to the navel area. The girl is nude and her undeveloped breasts are the focal point of the image.

The same blanket is present.

Review of the digital extraction download shows the above images of a timestamp of February

14, 2015.
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11. S.H. identified the blanket and a clock that was in some of the images as being

items in a bedroom at S.H's house. She identified the girl in the images as Victim One.

12. S.H. stated that she and Victim One lived with her boyfriend Jenkins. S.H.
suspected Jenkins of cheating on her, and while Jenkins was away on a road trip (Jenkins is an

over the road truck driver) she accessed his phone and found the pictures.

13. Victim One was interviewed by the Indiana Department of Child Protective
Services on March 26, 2015. Victim One stated that Jenkins had taken pictures of her in her
mother's bedroom with her (Victim One's) clothes off. Jenkins had asked her (Victim One) to
have her clothes off. Victim One stated that her mother was at work when Jenkins took the
pictures. Jenkins asked Victim One to assume multiple poses, and that Jenkins positioned her for

the poses.

14. On March 26, 2015 Jenkins was interviewed by Seymour P.D. Jenkins stated that

the cell phone in question was his, but denied knowledge of the five images described above.

15. I have viewed the five above described images and in my opinion at least four of
the five images depict sexually explicit conduct and are therefore child pornography under

federal law.

16. The cell phone at issue is a Samsung cell phone model SCH-S738C. The cell

phone was produced using components from outside the state of Indiana.
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17. Due to the sensitive nature of this investigation, I request that this complaint,

application, and warrant be sealed.

nm.
[ued Loar
Todd Prewitt

Special Agent

Federal Bureau of Investigation

Subscribed and sworn to before me, this 4th day of May, 2015.

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TT” vw
The Aonoppi Mark J. Dinsmore

United States Magistrate Judge

Southern District of Indiana
